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             5

             6
                                                     UNITED STATES DISTRICT COURT
             7

             8                                      EASTERN DISTRICT OF CALIFORNIA

             9                                                       *****
            10                                                       )
                 UNITED STATES OF AMERICA,
                                                                     ) CASE NO. CR-F- 06-00313 LJO
            11                                                       )
                         Plaintiff,                                  ) STIPULATION TO AMEND DESIGNATION IN
            12   vs.                                                 ) JUDGMENT AND COMMITMENT; ORDER.
                                                                     )
            13   SAVATH PRAK, et al.,                                )
                                                                     )
            14            Defendant.
                 _________________________________________________
            15
                          IT IS HEREBY STIPULATED between the parties, by and through counsel for the
            16

            17
                 government, Laurel J. Montoya and counsel for Defendant SAVATH PRAK, Joan Jacobs Levie, that

            18   the recommendation for Mr. Prak’s term of incarceration be amended to specify Taft instead of
            19   Atwater or Lompoc. This request is to enable Mr. Prak to reside at the same institution as his brother,
            20
                 Thearif Prak, who was sentenced with Mr. Prak. His brother requested and the court recommended
            21
                 incarceration at Taft.
            22
                 //
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            24   //

            25   //
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                 //
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                 //
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                 Allowing the brothers to be at the same institution will make it easier for their wives and children to
             1

             2   visit. They will save money by car-pooling. Savath Prak’s wife is unable to drive as far as Lompoc

             3   by herself.
             4
                         DATED: March 19, 2009
             5
                                                               Respectfully submitted,
             6                                                 /S/ Joan Jacobs Levie___
                                                               JOAN JACOBS LEVIE
             7
                                                               Attorney for Defendant,
             8                                                 SAVATH PRAK

             9
                                                               /S/ Laurel Montoya
            10                                                 LAUREL J. MONTOYA
                                                               Assistant U.S. Attorney
            11

            12                                              *****
            13
                                                               ORDER
            14
                 Having read the stipulation of counsel and finding good cause,
            15
                 IT IS HEREBY ORDERED that the Judgment and Commitment will be modified to make the
            16

            17   Federal Correction Institution at Taft the recommended facility for SAVATH PRAK’s period of

            18   incarceration.
            19
                 DATED: _March 19, 2009______
            20
                                                       By: _/s/ LAWRENCE J O’NEILL_____________
            21                                                 LAWRENCE J. O’NEILL
                                                               Judge of the United States District Court
            22

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